
The People of the State of New
York, Respondent, 
againstGlenn S. Smith, Appellant.



Appeal from a judgment of the Justice Court of the Village of Goshen, Orange
County (Thomas J. Cione, J.), rendered April 11, 2012. The judgment convicted
defendant, upon a jury verdict, of resisting arrest and disorderly conduct. By decision and
order dated March 10, 2014, this court reversed the judgment, on the law, and dismissed
the accusatory instrument (People v Smith, 43 Misc 3d 71 [App Term, 2d Dept, 9th
&amp; 10th Jud Dists 2014]). By order dated June 23, 2016, the Court of Appeals
reversed the decision and order of this court and remitted the matter for further
proceedings in accordance with its opinion (People v Smith, NY3d , 2016 NY Slip Op
04973 [2016]).




ORDERED that, upon remittitur from the Court of Appeals, the appeal is
dismissed.
The Court of Appeals has determined that defendant's failure to file an affidavit of
error requires the dismissal of the appeal. We note that defendant has moved for a writ of
error coram nobis on the ground that his counsel was ineffective in failing to file such an
affidavit (see People v
Andrews, 23 NY3d 605 [2014]; People v Syville, 15 NY3d 391, 394-398 [2010]; People v Bartholomew, 31
Misc 3d 698, 703 [Broome County Ct 2011]; cf. CPL 460.30 [1] [a]), and
the motion is being granted simultaneously herewith (People v Smith, 2016 NY
Slip Op [App Term, 2d Dept, 9th &amp; 10th Jud Dists 2016]).
Iannacci and Tolbert, JJ., concur.
Nicolai, P.J., taking no part.
Decision Date: August 16, 2016










